                             IN THE UNITED STATE DISTRICT COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

IN RE:
Marcus Glenn Ryder
Melanie Cason Ryder                                                  Case No._____________
Plaintiffs                                                           JURY DEMAND



vs.

Carrington Mortgage Services LLC
Defendant

                                    CIVIL ACTION COMPLAINT

                                               Introduction

       1.      This is an action for actual, statutory and punitive damages filed by the Plaintiffs. The

Parties recently settled case number 17-90213, which was an adversary in the Bankruptcy Court. This

action is for fraud and a breach of the settlement agreement from that action.

       2.      Historically, the Plaintiffs have filed three separate adversaries against Defendant in the

Bankruptcy Court and the Defendant continues to violate the terms of the parties agreement. The last

action was for actual and punitive damages filed by the Plaintiff s pursuant to 11 U.S.C. §105, 362, 524,

1322, 1327 and 1328 of the Bankruptcy Code, and Rules 2016, 3002.1 and 9011 of the Bankruptcy

Rules. This is the fourth suit against this Defendant and the Defendant will still not comply with the

parties agreement. The Plaintiffs bring this action after having attempted a satisfactory resolution.

                                         Jurisdiction and Venue

       3.      The jurisdiction of this Court arises under 28 U.S.C. § 1331.

       4.      This Court has supplemental jurisdiction to hear all state law claims pursuant to Section

1367 of Title 28 of the United States Code.



            Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 1 of 9 PageID #: 1
       5.     Venue is proper in this District because the acts and transactions occurred here, Plaintiffs

resides here, and Defendant transacts business here.

                                                  Parties

       6.      The Plaintiffs, Marcus and Melanie Ryder, are citizens and residents of Rutherford

County TN, hereafter “Plaintiffs”.

       7.      The Defendant, Carrington Mortgage Services LLC, is a corporation doing business in the

state of Tennessee. The Defendant may be served through the registered agent for process, CT

Corporation System, 300 Montvue Road, Knoxville, TN 37919-5546.

                                            Factual Allegations

       8.      The Plaintiffs have had to file three adversaries against the Defendant in the Bankruptcy

Court. First, 14-90421, which included the following facts:

               The Chapter 13 case of the Plaintiffs herein was commenced by the filing
               of a voluntary petition with the Clerk of this Court on September 14, 2011.
               The Defendant was then the proper party to receive notification of the
               bankruptcy filing and was properly notified of the filing in accordance
               with bankruptcy notification procedures. The 341(a) meeting of creditors
               in this case was held in Columbia, Tennessee on November 1, 2011.
               Schedule D of the Bankruptcy petition and schedules filed by the Plaintiffs
               included a debt to the defendant secured by a deed of trust on the
               residential real estate belonging to the Plaintiffs. The Chapter 13 plan as
               confirmed provided that the Debtor would make payments directly to the
               Defendant. The Plaintiffs allege that the Defendant received notice of the
               341(a) meeting from documents mailed by the Trustee’s office and also
               received a "filed" copy of the Order of Confirmation. The Plaintiffs
               continued making payments directly to the Defendant following the
               commencement of the bankruptcy case. The plan provided that the
               Plaintiffs would pay the debt to the Defendant directly and the Defendant
               did not file a Proof of Claim. On or about January 16, 2013, the
               Defendant started an escrow account on behalf of the Plaintiffs and began
               paying hazard insurance. The Plaintiffs have insurance coverage on the
               property. The Defendant continues to bill the Plaintiffs for the escrow to
               pay for hazard insurance. The Plaintiffs began receiving notices from the
               Defendant of intent to foreclose. An Order was entered on June 11, 2014
               which granted Plaintiffs’ Motion to Modify the plan to include the
               payment to the Defendant. An Order has also been entered to enlarge the



            Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 2 of 9 PageID #: 2
               time to file a Proof of Claim on behalf of the Defendant. The Plaintiffs
               filed a Proof of Claim on behalf of the Defendant on July 8, 2014 and
               amended that claim on July 16. The Chapter 13 Trustee filed a Motion to
               Disallow the Claim of Carrington Mortgage Services LLC because the
               name of the creditor on the face of the proof of claim is not supported by
               the documents attached. An Order granting the Trustee’s Motion to
               Disallow was entered on August 19, 2014. The Plaintiffs' attorney
               tendered four "Requests for Information" (hereinafter “RFI”) via Certified
               Mail to the defendant, pursuant to the Real Estate Settlement Procedures
               Act and Truth in Lending Act (“TILA”). The Plaintiffs contend that the
               Defendants received the RFI’s as evidenced by the attached Postal Service
               Form. The Plaintiffs, on April 2, 2014, sent an RFI requesting the name
               and address of the current owner, master servicer and current servicer, as
               well as a true and exact copy of the Plaintiffs’ note pursuant to RESPA
               and TILA. On April 9, 2014, the Plaintiffs sent an RFI requesting a
               payoff. The Plaintiffs, on April 2, 2014, sent an RFI requesting a life of
               loan mortgage transaction history and requested proof of proper payment
               application for the last 24 months. The Plaintiffs, on April 2, 2014, sent
               an RFI requesting a complete transaction history for the escrow account,
               any and all invoices for escrow expenses paid and proof of payments of
               escrow expenses. The Defendant’s acknowledged receipt. The
               Defendant provided four (4) different payoff quotes in response to the
               Plaintiffs’ payoff RFI. These payoffs are inconsistent with each other as
               well as the payoff sent in March, and fail to satisfy the Plaintiffs’ RFI. As
               of the filing of this complaint, the said Defendant has failed to have any
               form of communication with the Plaintiffs' attorney, or with the debtors in
               response to the Plaintiffs’ TILA Request and transaction history request or
               escrow account request. That adversary proceeding was resolved by an
               agreed order.
               9.     Despite the first adversary proceeding, the Plaintiffs had to file a second adversary

proceeding against the Defendant, adversary proceeding, 16-90105, which included the following

additional allegations of fact:


               Despite the escrow issue form the last adversary and the agreed order
               which indicated that $172.00 was to cover escrow, the Defendant is
               not paying the regular insurance or property taxes. The Plaintiffs have
               continually requested their counsel to have Defendant fix the issue.
               Counsel has email counsel from the last adversary, on August 3, 2015
               and again on November 4, 2015, and has called the tax assessor in an
               unsuccessful attempt to resolve. In addition to the aforementioned
               measures, Plaintiffs’ counsel sent an RFI to address the escrow issue
               that was not acknowledged or answered. That adversary proceeding
               was resolved by an agreed order.




          Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 3 of 9 PageID #: 3
       10.     Despite the first two adversary proceedings, the Plaintiffs had to file a third adversary

proceeding against the Defendant, adversary proceeding, 17-90213, which included the following

additional allegations of fact:


               The Trustee paid the Defendant’s claim as allowed in the Orders which
               resolved the previous two adversary proceedings. The Defendant filed two
               notice of payment changes under Rule 3002.1. Following the Defendant’s
               response to the Trustee’s motion to declare the mortgage current, an Order
               Declaring the mortgage account current was entered on September 28,
               2016. The Trustee’s last payment was for November 2016. The Plaintiffs
               received a Discharge Order on October 28, 2016. The Plaintiffs have
               made all post discharge mortgage payments to Defendant beginning
               October 2016 and continuing monthly through August 2017. The
               Plaintiffs also attached proof of all subsequent post-petition payments.
               Following their discharge, the Defendant incorrectly notified the Plaintiffs
               regarding their payment status, balance and escrow information. The
               Plaintiffs attached the Defendant’s post-petition statements and
               correspondence as well as their escrow analysis and their account history.


       11.     The last action was for actual and punitive damages filed by the Plaintiff s pursuant to 11

U.S.C. §105, 362, 524, 1322, 1327 and 1328 of the Bankruptcy Code, and Rules 2016, 3002.1 and 9011

of the Bankruptcy Rules. This adversary proceeding was resolved by a settlement agreement and an

agreed order. The parties settlement agreement was executed by the Defendant via the vice president

Eric Harrison on June 14, 2018 and was executed by the Plaintiffs on June 16, 2018, the later date being

the effective date provided by the agreement.

       12.     The relevant portion of the settlement agreement for the current dispute provided that the

Defendant acknowledges that as of the effective date, June 16, 2018, that the Plaintiffs’ loan was not in

default and is paid current through the July 1, 2018 payment. The agreement goes further to indicate that

the next payment due date was August 1, 2018.

       13.     In addition to the release, the agreement also provides that in an action brought to enforce

the agreement, the prevailing party or parties shall be entitled to recover damages, fees and other cost

incurred in such litigation, provided such expenses are proven to be the direct and proximate result of


          Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 4 of 9 PageID #: 4
any breach. In addition, the agreement provides that the prevailing party may also be entitled to any

other relief provided by law.



                                              Claims for Relief

                                             Count One- Fraud

          14.    The allegations in the preceding paragraphs are re-alleged and incorporated herein by this

reference.

          15.    Defendant has made material false representations to the Plaintiffs.



          16.   Specifically, the Defendant’s monthly billing statement indicates that the Plaintiffs’ have

an past due balance, attached as Exhibit 1. As Exhibit 2, the Plaintiffs attach the billing statement dated

right before the effective date of the settlement. Exhibit 2 incorrectly indicated that the Plaintiffs’

account had a past due balance of $49.51. Exhibit 1, which was after the aforementioned effective date,

June 16, 2018, where the Defendant acknowledges that the Plaintiffs’ loan was not in default and is paid

current through the July 1, 2018 payment, indicates that now the Plaintiffs’ have an outstanding past due

balance of $60.56. Exhibit 1 is a material misstatement and the Defendant has increased the amount that

the Defendant believes is past due despite the parties agreement. The Plaintiffs attach proof of their

payments since March 1, 2018 as Exhibit 3.

          17.    Defendant knows that these representations are material and that they are false as set forth

herein.



          18.   When the Defendant made and/or makes the material representation, it (i) knew that the

material representation was false, or (ii) made the material representation recklessly without any

knowledge of its truth and as a positive assertion.


             Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 5 of 9 PageID #: 5
        19.     Plaintiffs have suffered damages as a result of Defendant material misrepresentation.



                          Count Two- Breach of the Parties Settlement Agreement

                                            (Breach of Contract)



        20.    Plaintiffs incorporate by reference all of the above factual allegations and Exhibits as if

fully set forth herein.

        21.    A contractual relationship exists between the Plaintiffs and Defendant.

        22.    Although the Defendant acknowledged that the Plaintiffs’ account was current, the

Defendant actually had no intention of making the Plaintiffs’ account current.

        23.    The agreement was signed between the parties, the Plaintiffs relied on the agreement to

dismiss the lawsuit that they had filed. The Plaintiffs have suffered damages as a result of the

Defendant’s breach.

                                    Count Three- Promissory Estoppel

                                       (PROMISSORY ESTOPPEL)

        24.    Plaintiffs incorporate by reference all of the above factual allegations and Exhibits as if

fully set forth herein.

        25.    Plaintiffs signed off on a release based on the Defendant’s representation to the Plaintiffs

that as of the effective date, June 16, 2018, that the Plaintiffs’ loan was not in default and is paid current

through the July 1, 2018 payment. The Plaintiffs have had to file actions against credit reporting

agencies based on inaccurate information provided by this Defendant to fix errors and are concerned that

the Defendant not following through on the agreement will result in negative reporting.

        26.    The Plaintiffs relied on the Defendant’s unambiguous promise.

        27.    The Plaintiffs’ reliance was both reasonable and foreseeable.


           Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 6 of 9 PageID #: 6
        28.     The Plaintiffs were injured as the Defendant still shows that the Plaintiffs have an

outstanding past due balance that has increased since before the agreement was reached.

        29.     Based on foregoing, the Plaintiffs are entitled to equitable relief, damages and attorney’s

fees.

                             COUNT FOUR- NEGLIGENT MISREPRESENTATION

                                  (NEGLIGENT MISREPRESENTATION)

        30.     Plaintiffs incorporate by reference all of the above factual allegations and Exhibits as if

        fully set forth herein.

        31.     Defendant had a duty to perform under the parties settlement agreement.

        32.     The Defendant failed to perform under the parties agreement.

        33.     Plaintiffs justifiable relied on the Defendant’s representation to the Plaintiffs that as of the

effective date, June 16, 2018, that the Plaintiffs’ loan was not in default and is paid current through the

July 1, 2018 payment.

        34.     The Plaintiffs signed off releasing the Defendant from numerous claims based on the

Defendant’s representation which was an unambiguous promise.

        35.     The Plaintiffs’ reliance was both reasonable and foreseeable.

        36.     The Plaintiffs were injured as the Defendant still shows that the Plaintiffs have an

outstanding past due balance that has increased since before the agreement was reached.

        37.     Based on foregoing, the Plaintiffs are entitled to equitable relief, damages and attorney’s

fees.

                                              Actual Damages

        38.      The Plaintiffs incorporates herein by reference all preceding paragraphs as if fully set

forth herein.

        39.      In this case, the Plaintiffs have suffered the following actual damages:


          Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 7 of 9 PageID #: 7
               a.      Attorney fees
               b.      Mailings
               c.      Paying fees and charges that unauthorized, illegal and/or unnecessary and the
                       interest that then gets paid on the total loan amount
               d.      Costs
               e.      Emotional distress
               f.      Credit Damage
                       -       Increased out of pocket expenses
                       -       Loss of credit expectancy
                       -       Loss of credit capacity

       WHEREFORE, the Plaintiffs having set forth the claims for relief against the Defendants

respectfully pray of the Court as follows:

       A.      That the Plaintiffs recover against the Defendant any injunctive relief, monetary damages

               and punitive damages including attorney’s fees based on the Plaintiffs’ claim for fraud

               (paragraphs 14-19, 38-39).

       B.      That the Plaintiffs recover against the Defendant any injunctive relief, monetary damages

               and punitive damages

               including attorney’s fees based on the Plaintiffs’ second claim for relief, Breach of

               Contract (paragraphs 20-25, 38-39).

       C.      Based on the Plaintiffs third claim for relief (paragraphs 24-29, 38-39) and the factual

               allegations, the Plaintiffs seek to recover against the Defendant appropriate damages and

               equitable relief for the promissory estoppel claim.

       D.      Based on the Plaintiffs fourth claim for relief (paragraphs 30-39) and the factual

               allegations, the Plaintiffs seek to recover against the Defendant appropriate damages and

               equitable relief for the negligent misrepresentation claim.

       E.      That the Defendant be forever enjoined from doing any act to collect or to receive

               payment from the Plaintiffs.

       F.     That the Plaintiffs recover any further relief as the Court may deem just and proper.

Date this the 5th   day of      November      , 2018.



            Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 8 of 9 PageID #: 8
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Exhibit List:
Exhibit 1: Statement dated 10.1.2018
Exhibit 2: Statement dated 5.1.2018
Exhibit 3: Proof of payments since March 2018




         Case 3:18-cv-01240 Document 1 Filed 11/05/18 Page 9 of 9 PageID #: 9
